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peor LePhanie La'Donna Cary-Blake

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Farsi Haine hhddie Name Last Marna
Debtor 2
(Spouse, if fillng} First Name Kiddte Hama Lasl Name
Uniled States Bankruptcy Court for the: District of

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Desc Main

Check if ihis is an
amended filing

12/5

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule

A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired HEE EIY

creditors with partialiy secured claims that are listed in Schedule D: Creditors Who Have Cial.
neéded, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1.

SEP 1? 2024

rm 1066). Do not Include any
erty. if more space is

Do any creditors have priority unsecured claims against you?

LJ No. Go to Part 2.

TIME: “ce OM

CLERK, U.S. BANKRUPTCY COURT

Pics
2. Cist ali of your priority unsecured claims. If a creditor has more than one priority unsecdidd PAY ba MINNESOTA ately for each cialm. For

each claim listed, Identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriorty amounts. As much as possible, list the claims In alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. II more than one creditor holds a particular claim, list the other creditors in Part 3.

{For an explanation of each iypa of claim, see the instructions for thls form in the instruction booklet.)

Total claim Priority |. Nonpriority
. amount amount
24 i Pb. G00 2 PMOSR OR
Bridgecrest Last 4 digits ofaccount number sft & $ “3
Prionty Craditer's Namo
ATTN: BRIDGECREST CUSTOMER SERVICE When was the debt Incurred? 08/2024 - 08/11/2024
Number Sireat
PO BOX 52020
PHOENIX, AZ 86072 As of the date you file, the claim is: Check afl that apply.
Cy Sito —-ZiP Code 1 Contingent
JZ Untiquidated
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CL) Debtor 2 only Type of PRIORITY unsecured claim:
5 Deblor 1 and Debtor 2 only (3 Domestic support obligations
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C) Check if this claim is for a community debt CG claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
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Stephanie La'Donna Cahy-Blake °2° ¢ ©

Debtor 7

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ne Your PRIORITY Unsecured Claims — Continuation Page

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Debtor 7 Case number gtinweny,
Fusi Namne Midde Name Las! Name

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

El No. You have nothing to repart in this part. Submit this form to the court wilh your other schedules.
. Yes

4, List atf of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately lor each claim. For each claim listed, identify whal type of claim itis. Do not list claims already
included in Part 1. If more than one creditor halds a particular claim, list the other creditors in Part 3./f you have move than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

Nonpriorky Creditors Name

215 RADIO DR SUITE 200 When was the debt incurred? 2007
Number Straat WOODBURY, MN 55125

City State ZIP Code As of the date you file, the claim is: Check ail that apply.

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1 check if this claim is for a community debt C1 obtigations arising out of a Separation agreement or divorce
that you did not report as priority claims
An claim subject to offset? (I Debts to pension or profit-sharing plans, and other similar debts

No C2 other. Speciy

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H.2 | ADVANCE AM ERICA Last 4 digits of accountnumber
Nonpriorly Creditors Name When was the debt incurred?

1178 WOODRUFF RD #1
Namoes Street GREENVILLE, SC 29607 As of the date you file, the claim is: Check all that apply.

Cily State ZIP Cada aw Contingent
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C) Debts to pension or profit-sharing plans, and other similar debts

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LJ ALLINA HEALTH PARTNERS CARE Last 4 digits of account number ___ OG As

ae PO Box 43 MR 10209 When was the debt incurred? 1 985

Numbat MI NNEAPOLI 5, MN 55440-0 043 As of the date you file, the claim is: Check all that apply.
City State 2lP Codo Contingent
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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsacured Claims —~ Continuation Page

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“35” WEST ST PAUL, MN 55118 —

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims - Continuation Page

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SEATTLE, WA, 98175

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims -- Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims -- Continuation Page

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BENEFIT RECOVERY |

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PO Box 64994

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Your NONPRIORITY Unsecured Claims — Continuation Page
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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Ciaims — Continuation Page

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Your NONPRIORITY Unsecured Clainis — Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Page

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C/O: MINNESOTA RELAY

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SAINT PAUL, MN 55101

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Total claim

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One hundred
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and no cents.

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Debtor i

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idde Nana Last Name

List Others to Be Natifled About a Debt That You Already Listed

§. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For
example, if a collection agency Is trylng to collect from you for a debt you owe to someone else, list the original creditor Jn Parts 1 or
2, then Ust the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. ff you do not have additional persons to be notified for any debts in Parts 1 or 2, do nat fll out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

Name
Line al (Check ong): 2 Part 1: Creditors with Prority Unsecured Claims
Number Streat Q) Pari 2: Creditors with Nenpzriority Unsecured Claims
Last 4 digits of accountnumber
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Aumbor Strom C) Part 2: Creditors with Nonpriority Unsecured
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Last 4 digits of account number
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Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

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Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured clalms. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.
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: . biigati 6a.
- Total claims 6a, Domestic support obligations a §
: from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $
6c. Claims for death or personal injury while you were
intoxicated 6c, $
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +5
6e. Tota}. Add iines Ga through 6d. 6a,
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Total claims 6f. Student loans Gf. 5
; from Part 2 6g. Obligations arising out of a separation agreement
: or divorce that you did not report as priority
claims Gg. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. gg
| 6]. Total. Add lines 6f through 6: Gj.
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Official Form 1066/F Schedule E/F: Creditors Who Have Unsecured Claims page of

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Pages

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Your NONPRIORITY Unsecured Claims - Continuation Page

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Your NONPRIORITY Unsecured Clalms — Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page ,

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Your NONPRIORITY Unsecured Claims — Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Clalms ~ Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Clalms ~ Continuation Page

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Your NONPRIORITY Unsecured Claims ~ Continuation Page

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Your NONPRIORITY Unsecured Claims — Continuation Page

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